
665 S.E.2d 741 (2008)
DEPT. OF CORRECTION
v.
MEDICAL BOARD.
No. 51PA08.
Supreme Court of North Carolina.
August 26, 2008.
Joseph Finarelli, Assistant Attorney General, for Dept. of Correction, et al.
Thomas W. Mansfield, Brian L. Blankenship, D. Todd Brosius, for Medical Board.
Noah H. Huffstetler, III, Wallace C. Hollowell, III, Raleigh, for American Medical Asso.
Timothy C. Miller, J.D., Senior Director, for FSMB.
Sarah L. Buthe, Raleigh, Carl J. Chiappa, New York, NY, Logan M. Breed, Washington, DC, Aaron C. Mahler, for Physicians for Human Rights.
The following order has been entered on the motion filed on the 18th day of August 2008 by Plaintiffs for Extension of Time to File Brief:
"Motion Allowed. Plaintiffs (Dept. of Correction, et al.) shall have up to and including the 29th day of September 2008 to file and serve their brief with this Court. By order of the Court in conference this the 26th day of August 2008."
